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                       EXHIBIT 3
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  1                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
  2                                 SAN JOSE DIVISION
  3

  4
        LINCOLN JONES, JR., ET AL.,                       )
  5               Plaintiffs,                             ) Civil Action No.
                                                          ) CV-13-02390 LHK PSG
  6     VS                                                )
                                                          )
  7     TRAVELERS CASUALTY INSURANCE                      )
        COMPANY OF AMERICA,                               )
  8               Defendant.
  9

 10                    CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
                                   PAGES 46 through 64
 11

 12
                               DEPOSITION OF:            Brian Kearney
 13                            DATE:                     September 19, 2014
                               HELD AT:                  Day Pitney LLP
 14                                                      242 Trumbull Street
                                                         Hartford, Connecticut
 15

 16

 17

 18

 19

 20

 21                    Reporter: Robin Balletto, RPR, LSR #230
                           BRANDON HUSEBY REPORTING & VIDEO
 22                                249 Pearl Street
                             Hartford, Connecticut 06106
 23                                 (860) 549-1850
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 25

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  1                              Brian Kearney, Deponent, having been
  2     first duly sworn by Robin Balletto, RPR, a Notary
  3     Public in and for the State of Connecticut, was
  4     examined and testified as follows:
  5

  6                           DIRECT EXAMINATION BY MR. BRANCART
  7

  8               Q       Good morning, sir.
  9               A       Good morning.
 10               Q       Would you please state your full name and
 11     spell it?
 12               A       Brian Kearney, last name is K-E-A-R-N-E-Y.
 13               Q       Mr. Kearney, what is your middle name?
 14               A       Thomas.
 15               Q       Other than the first name of Brian, do you go
 16     by any other first name, common name, or nicknames in
 17     the course of your work in the insurance industry?
 18               A       No.
 19               Q       The court reporter just administered an oath.
 20               A       Yes.
 21               Q       What does that oath mean to you?
 22               A       It means that I need to state the truth.
 23               Q       Would you please state for me your current
 24     job title?
 25               A       I am the vice president of underwriting for

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  1     stating what the underwriting principal is that's
  2     caused the ineligible list and includes subsidized
  3     housing as being an ineligible operation.
  4               Q       I'm not asking about the underlying
  5     principal, sir.             I'm asking a very focused question
  6     which concerns information broadly defined as data.
  7                       Sir, did any Travelers employee at any time
  8     review any data or information in connection with the
  9     development, review, approval, implementation or
 10     execution of the ineligible operation regarding public
 11     housing?
 12                              MR. PETERSON:         Objection, overbroad,
 13     vague.
 14               A       I don't know.
 15     BY MR. BRANCART:
 16               Q       Did any Travelers employee at any time in the
 17     period 2005 to 2014 review any information in
 18     connection with their development, review, approval,
 19     implementation or execution of the ineligible operation
 20     regarding public housing?
 21                              MR. PETERSON:         Same objection.           It's
 22     overbroad.
 23               A       Not that I'm aware of.             It's been on the
 24     ineligible operation list as currently stated since the
 25     2005 CURE, and as such, it's not been a focus of the

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  1     business to find ways to change that.                        We've been
  2     focusing more on that business that is within our
  3     current eligibility structure.
  4     BY MR. BRANCART:
  5               Q       But I mean, the question then for the period
  6     2000 to 2005, did any Travelers employee review any
  7     study regarding -- any study in connection with the
  8     development, review, approval, implementation or
  9     execution of the ineligible operation regarding public
 10     housing?
 11                              MR. PETERSON:         Objection, overbroad.
 12     Calls for speculation.
 13               A       Not that I'm aware of.             I know going back to
 14     1999 both St. Paul as a separate company and Travelers
 15     had specific direction within their underwriting
 16     guidelines for apartment buildings to either make
 17     Section 8 housing ineligible or have it be a referred
 18     company.          When the companies came together in 2004 I
 19     know that that changed and it became part of a stated
 20     ineligibility, and then in the 2005 CURE the wording
 21     changed to how it stands today, so from the history
 22     back to '99 it's been on the ineligible list, and to my
 23     knowledge no studies or no work data has been reviewed
 24     to change that.
 25               Q       So the testimony on behalf of Travelers is

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  1     for the period since 2000 to today, no Travelers
  2     employee has reviewed a study, data, HUD document with
  3     the exception of the e-mail that you've identified in
  4     Exhibit 220?
  5               A       Not that I'm aware of and could find no
  6     evidence of that.
  7               Q       In connection with the ineligible operation
  8     for public housing; is that correct?
  9                              MR. PETERSON:         Object to the form of the
 10     question as overbroad and vague as to employee.
 11               A       Yes, but there's no evidence that there's
 12     been any review of a study on this ineligible
 13     operation.
 14     BY MR. BRANCART:
 15               Q       Going back to the period 1995 to 2000,
 16     identify for me, please, what studies were considered
 17     or reviewed by any Travelers employee or predecessor
 18     employee such as St. Paul?
 19               A       I'm not aware --
 20                              MR. PETERSON:         Excuse me, I'm sorry, I
 21     didn't realize he was finished.                     Objection to the form
 22     of the question as exceeding the scope of the
 23     deposition.           Calls for speculation.
 24     BY MR. BRANCART:
 25               Q       Let me just get out the question.                   My

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  1     question is, going back to 1995 to 2000, are you aware
  2     of any, and let me be broad so we can get done with
  3     this, study, HUD document, with the exception of the
  4     e-mail you've identified in Exhibit 220, data set or
  5     information that was reviewed or considered by any
  6     Travelers employee or organization that became, such a
  7     St. Paul, part of the Travelers Companies in connection
  8     with the development, review, approval, implementation
  9     or execution of the ineligible operation regarding
 10     public housing?
 11               A       No, not that I'm aware of.
 12               Q       Please state for me what interest is advanced
 13     by Travelers through the adoption and enforcement of
 14     the ineligible operation regarding public housing, now
 15     as our shorthand for subsidized or government funded or
 16     public housing complexes?
 17               A       I'm not sure.         You're asking -- could you
 18     repeat the question?
 19               Q       Sure.     First, just so we're clear, just so
 20     that we don't have to spend all day saying words over
 21     and over again, when we're saying ineligible operation
 22     regarding public housing, you understand that I'm
 23     referring to the ineligible operation we've been
 24     discussing.           It has been written in different ways, but
 25     we're using that as a catchall term for our purposes

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  1     right now.           Do you understand that?
  2               A       Yes.
  3               Q       We'll go through its evolution in a minute,
  4     but we're talking generally about that IO, to that type
  5     of particular function within housing.
  6                       My question to you is, state for me what
  7     interest is advanced of Travelers by instituting,
  8     implementing and enforcing the ineligible operation
  9     regarding public housing?
 10               A       So I'm struggling because of the way you've
 11     posed the question, what interest is advanced.                            I look
 12     at it very basically in that subsidized or public
 13     housing is a specialized type of housing that requires
 14     knowledge of how the subsidies work, how they might be
 15     administered in different jurisdictions, and how they
 16     may change over time.                That would be knowledge that we
 17     don't currently have today at Travelers that we would
 18     need to gain, and as a result it doesn't -- this type
 19     of operation doesn't fit within our operating model
 20     within Travelers Express, which is a very fast,
 21     efficient, low cost, low touch operating model.                            So
 22     we've designed our underwriting eligibility to capture
 23     more low hazard, more easily defined risks that don't
 24     require a lot of touch, both on the front end and on
 25     the renewal side.              So that's why we see all of the

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  1     occupancies on the ineligible operations list are all
  2     considered to be specialized, requiring some level of
  3     special knowledge and perhaps some special treatment.
  4                       So I guess our interest is that the
  5     ineligible operations list allows us to sustain our
  6     operating model, low touch, quick, efficient, and not
  7     have to change that for other types of specialized
  8     occupancies that would require a different operating
  9     model.
 10               Q       State for me, please, what interest is
 11     advanced by Travelers by classifying Section 8 voucher
 12     tenants renting dwellings within private rental
 13     apartments owned and operated by private landlords,
 14     what interest is advanced by Travelers by classifying
 15     Section 8 as public housing or subsidized housing for
 16     purposes of the ineligible operation?
 17                              MR. PETERSON:         Excuse me, object to the
 18     form of the question as to the phrase interest advanced
 19     as vague and ambiguous and also to the word
 20     classification as vague.                 You may answer the question.
 21               A       So Travelers has subsidized housing in
 22     Section 8 vouchers, or I should say subsidizing housing
 23     as the language that would include Section 8 vouchers.
 24     Because it's a different financial arrangement than a
 25     traditional market rent, fully paid tenant paying rent

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  1     voucher tenants renting in a private apartment that
  2     justify treating that apartment at risk as different
  3     from an identical apartment that doesn't happen to have
  4     a Section 8 voucher tenant?
  5                           MR. PETERSON:         Object to the form of the
  6     question as compound and use of the word justifying as
  7     argumentative, mischaracterizes his prior testimony.
  8     You may answer the question.
  9              A     So the questions or concerns we may have is,
 10     is it still a market rent for that subsidized unit, how
 11     does the program change, and is it administered in a
 12     different way in a different jurisdiction.                       There's
 13     also concerns, I've read some studies with regard to
 14     Section 8 housing tenants may have a higher
 15     preponderance of disability or mobility issues which
 16     could lead to understanding the life safety concerns
 17     that we would have underwriting apartment complexes.
 18     There's the question about with regard to the financial
 19     cash flow capital, whether the -- as a result is the
 20     building owner getting sufficient funds to maintain the
 21     property, and there could be others as well.                        We
 22     haven't studied really this realm of housing to know
 23     the answers, but just the number of things that I've
 24     brought up, you know, tells us that it's a specialized
 25     realm within the housing segment, and as such would

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  1     require a different underwriting approach than what we
  2     currently provide within Travelers Express with even a
  3     potential different way of pricing for it than what we
  4     have currently in Travelers Express.
  5     BY MR. BRANCART:
  6              Q     Currently Travelers Express, specifically --
  7     I'm sorry, prior to the 2nd Gen Travelers Express
  8     specifically required independent agents to populate
  9     the interface with cash flow data; is that correct?
 10              A     So prior to 2nd Gen, there still would be a
 11     connection to D&B, but that would be the extent of any
 12     kind of financial information we would get.                        The
 13     challenge with underwriting --
 14              Q     I'm sorry --
 15                           MR. PETERSON:         Can he finish his answer?
 16                           MR. BRANCART:         He can finish it, but
 17     we're going to start asking some very specific yes or
 18     no questions to examine this.                 I would like you to
 19     answer these yes or no, because we can go to the
 20     website, which I haven't been provided, I got some
 21     screen shots, I don't see this there, but you're going
 22     to answer the questions about Travelers.                      Do you want
 23     to have him answer further now?
 24                           MR. PETERSON:         I would like him to
 25     finish his answer.

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  1     BY MR. BRANCART:
  2              Q     Please.
  3              A     I was going to say in small commercial it's a
  4     balance of what information we can readily access and
  5     get, and where do we have to understand based on our
  6     knowledge of the market what information we have to
  7     imply, so in a case around financials we don't ask
  8     specific questions.
  9              Q     So the answer to my question is Travelers
 10     does not require independent agents to populate cash
 11     flow data in the 1st Gen Travelers Express in terms of
 12     the Apartment Pac, correct?
 13              A     Correct.
 14              Q     Travelers Express 1st Gen Apartment Pac, data
 15     is required to be entered by the independent agent as
 16     to when rents are collected by a landlord; is that
 17     correct?
 18              A     No.
 19              Q     Number three is the rents that are charged by
 20     a landlord, and specifically an algorithm that compares
 21     those rents to the market rents for comparable housing,
 22     is that built in to data that is gathered through 1st
 23     Gen Travelers Express for Apartment Pac?
 24              A     No, it's not.
 25              Q     The amount of monies allocated or expended by

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  1     a landlord for maintenance of an apartment building, is
  2     that populated by the independent agent, and therefore,
  3     considered by Travelers?
  4              A     That specific information isn't populated,
  5     but what we do is look at the information around the
  6     age of the building, updates that may have been made to
  7     the building based on the age that's input.                        We also
  8     look at the amount of vacancy as another proxy for a
  9     stable financially run apartment building, and really
 10     use that in conjunction with knowing that in a
 11     nonsubsidy situation the building owner is getting rent
 12     through normal lease arrangement, and has the ability
 13     to collect, or if not collect, begin down the path of
 14     eviction in a way that -- we use that all as a proxy to
 15     know that that should be sufficient.                    The presence of
 16     the subsidy creates enough difference that we would
 17     have to understand that in a way that doesn't really
 18     fit our model.
 19              Q     Whether a private apartment building has a
 20     Section 8 voucher holder as a tenant or not, Travelers
 21     is still able to obtain information regarding the age
 22     of that building, true?
 23              A     Travelers has the ability to get that
 24     information.
 25              Q     And age of the building is something that

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  1     Express interface by the agent, true?
  2              A     There is an ineligibility around vacancy.                      If
  3     it's greater than -- they have to have occupancy of
  4     greater than 80 percent or greater to be considered
  5     eligible.
  6              Q     That information is available for a landlord
  7     who rents to one or more tenants who receives a Section
  8     8 voucher just as it would be for that very same
  9     landlord in the very same building if they did not rent
 10     to one or more tenants who receives a Section 8
 11     voucher, correct?
 12              A     We would have to take the agents -- in both
 13     cases we're taking the agents word for that.
 14              Q     Let's put it in clearer terms.                 There is
 15     nothing causally connected with the presence or
 16     nonpresence of a Section 8 voucher holder in effecting
 17     the age of a building, whether updates were made to a
 18     building, or the current vacancy rates of a building,
 19     those are both independent variables, true?
 20                           MR. PETERSON:         Objection, lacks
 21     foundation.
 22              A     That would be true in my mind.
 23     BY MR. BRANCART:
 24              Q     Travelers Express requires that there be a
 25     specific disclosure as to the nature of the rental

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  1     agreement or lease that the landlord enters into with
  2     each of the tenants who rent in the apartment building.
  3     Is that correct?
  4              A     No, there's no requirement for that.
  5              Q     Well, it requires a disclosure of the
  6     mechanism by which the landlord will pursue eviction if
  7     money is not paid; isn't that correct?
  8              A     There is no specific stipulation within
  9     Travelers Express asking for that information.                         As I
 10     had stated earlier, when we define our appetite, it's
 11     based on knowing, our knowledge, our business
 12     knowledge, our risk taking appetite of a particular
 13     class and type of business.                As a result, we structure
 14     our underwriting questions and our underwriting rules
 15     based on what we as a business, as a company understand
 16     about that.        We understand the traditional apartment
 17     building owner with nonsubsidized tenants collecting
 18     rent on a monthly basis with a certain level of
 19     occupancy and tenancy, and what they should be able to
 20     do legally in the event that rent isn't paid in order
 21     to sustain the appropriate level of cash flow.
 22                    In the event of a subsidy, including Section
 23     8 vouchers, I couldn't explain to you today the
 24     difference between a Section 8 voucher and any other
 25     kind of subsidy, because we don't have the knowledge of

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  1     those programs within Travelers, and as a result,
  2     that's why we don't have specialized knowledge, we
  3     don't understand beyond the concerns of the financial
  4     and management, and as I mentioned, mobility issues as
  5     well as others, we just don't understand the risk, and
  6     as a result have not built and researched it in a way
  7     to build it into our operating model.                     We view it, as I
  8     believe the market does, as a more specialized kind of
  9     risk within the housing market.
 10              Q     You mentioned, of course, collection as a
 11     concern, and you do request in Travelers Express 1st
 12     Gen information about how it is that a landlord intends
 13     to collect rent; is that correct?
 14              A     No.
 15              Q     You mentioned capital issues.                 There is a
 16     requirement in Travelers Express 1st Gen that there be
 17     a disclosure of capital reserves, or some kind of
 18     financial mechanism to ensure that landlords have
 19     requisite capital to maintain their structures; is that
 20     correct?
 21              A     No.    We're looking at the level of occupancy
 22     and the normal payment of rent as the primary piece of
 23     information we need to make the assessment that we've
 24     got enough stability.
 25              Q     I'm glad you mentioned disability.                   It is

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  1     Travelers practice and policy to compel landlords to
  2     disclose which of their tenants are disabled in order
  3     to submit an application through Travelers Express; is
  4     that correct?
  5              A     No.    We don't collect information on,
  6     specific information of that nature on tenants.
  7              Q     I understood that disability or mobility
  8     impairments -- I'm sorry, it's mobility impairments.
  9     You collect information on mobility impairments
 10     regarding apartment buildings, and specifically the
 11     mobility impairments of people living there as part of
 12     the determination to qualify a landlord for an
 13     Apartment Pac.
 14              A     No, we don't.
 15              Q     Travelers understands private rental housing
 16     that doesn't have Section 8 or any subsidy; is that
 17     your testimony?
 18              A     Yes.
 19              Q     Would you state for me the difference in the
 20     eviction procedure between the state of California and
 21     the state of Connecticut regarding the procedural
 22     requirements and to what extent a landlord may request
 23     back rents?
 24                           MR. PETERSON:         Excuse me.        Object to the
 25     form of the question as calling for an opinion and is

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  1     outside the scope of the deposition.                    It is verging on
  2     harassment.
  3              A     I do not possess and we don't look at that
  4     level of detailed information.
  5     BY MR. BRANCART:
  6              Q     I'm sorry, let me -- there's an assumption
  7     that there is an ability to collect and evict tenants
  8     in a private market that somehow you believe is
  9     different from the Section 8 program, and you would
 10     recognize that Travelers is in 50 different markets
 11     with 50 different state jurisdictions governing 50
 12     different sets of landlord tenant laws, you do
 13     recognize that?
 14              A     Yes.
 15              Q     And you further recognize that there is
 16     substantial difference among the 50 state codes
 17     regarding eviction and collection of rents, true?
 18                           MR. PETERSON:         Objection.        Calls for a
 19     legal opinion.         Outside the scope of the deposition.
 20              A     It would be my understanding that 50
 21     different states would have 50 different regulations.
 22     BY MR. BRANCART:
 23              Q     The importance of market rents, what is it
 24     that -- put that aside.              Sir, what is it that -- let me
 25     withdraw that.

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  1     raise one factor, and that was the change over time of
  2     the Section 8 program.             So Travelers presently collects
  3     information for purposes of 1st Gen Travelers Express
  4     Apartment Pac from a landlord that you can assess the
  5     creditworthiness and/or the ability to pay rent by any
  6     of the tenants in the dwelling that Travelers is about
  7     to insure; is that correct?
  8                           MR. PETERSON:         Excuse me.        I object to
  9     the preface of the question as argumentative and
 10     mischaracterizing testimony.                Go ahead.
 11              A     No, we don't collect that information.                     As I
 12     said earlier, we collect -- we understand what the
 13     operation is, and if it is private rental market with
 14     no subsidy, then we make -- if there's been no losses,
 15     they've been renting the building for a number of
 16     years, we infer from that that there is an operation
 17     that's running effectively.
 18     BY MR. BRANCART:
 19              Q     Identify for me then -- I think we've gone
 20     through every factor.             Is there one I've missed that
 21     you identified as factors that you thought were
 22     distinguishing between Section 8 and -- let me finish.
 23     Between a private landlord renting to one or more
 24     Section 8 voucher holders and a private landlord, the
 25     same landlord, identical landlord, identical building,

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  1     think that's the only -- the existence of the presence
  2     of the subsidy is the only thing that I've been able to
  3     identify that you've been able to provide to me.                          Have
  4     I missed -- is there anything else?
  5                           MR. PETERSON:         Objection.        Asked and
  6     answered, mischaracterizes his testimony, and calls for
  7     speculation as to what you've missed.
  8              A     It's the presence of the subsidy that creates
  9     the distinction of trying to understand that it's
 10     different.
 11     BY MR. BRANCART:
 12              Q     So let's talk about the absence of the
 13     subsidy then.         State for me what are the assumptions
 14     that are made by Travelers regarding private apartment
 15     buildings where there is no Section 8?
 16              A     We set forth in our eligibility guidelines
 17     certain criteria.           I can't name them off the top of my
 18     head, but a certain number of years in business, prior
 19     insurance coverage, loss activity, age of the building,
 20     certain age, upkeep of the building.                    We capture this
 21     information to get a snapshot of the upkeep, the
 22     management, the finances of the business.                       That is the
 23     information that we use in order to determine whether a
 24     risk is acceptable or not.
 25              Q     All of which is available whether that

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  1     landlord accepts one Section 8 person or doesn't accept
  2     any, true?
  3              A     I'm not --
  4              Q     The criteria you just listed, sir, is equally
  5     available for a landlord who has no Section 8 tenants
  6     and a landlord who one Section 8 tenant, true?
  7              A     The same information is available, but it is
  8     the existence of the subsidy, again, that creates the
  9     question.
 10              Q     So let's talk about the absence of the
 11     subsidy.       What is it about apartment buildings with an
 12     absence of a subsidy.             What assumptions do you make
 13     that render that risk understandable whereas a landlord
 14     who happens to have one of 15 tenants with a Section 8
 15     voucher makes that risk alien, or unknowable, or
 16     unknown?
 17              A     It comes down to how the subsidies work and
 18     the payment to the insured, and do those ever lapse.
 19     It really comes down to understanding the variety of
 20     subsidies that could occur, do they, are they paid
 21     differently, is market rent calculated in a different
 22     way.      There are just a number of questions that would
 23     still come to mind, you know, to --
 24              Q     I would like you to state all of them.
 25              A     I don't know that I can state all of them.                       I

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  1     stated several.          There likely could be more, but again,
  2     without studying it and understanding it, it's a part
  3     of the habitational market that we've stayed away from
  4     because we don't understand it, and there hasn't really
  5     been a need for us to understand it based on our
  6     ability to write business in the housing market, and
  7     it's my understanding that there are markets available
  8     for subsidized housing.
  9              Q     I don't think you've added any new factors,
 10     but let's go through them.               One is concern about a
 11     lapse of payment of rent.               You identified that that was
 12     something that was unknown, and yet there is no data
 13     that is collected by Travelers under the original
 14     Travelers Express or the 2nd Gen for Apartment Pac that
 15     ascertains any data regarding lapse of rents, true?
 16                           MR. PETERSON:         Objection, argumentative,
 17     asked and answered.
 18              A     It is true.
 19     BY MR. BRANCART:
 20              Q     There is no data that is gathered by
 21     Travelers Express regarding Apartment Pac that
 22     determines whether the rents that are being charged by
 23     the landlord are at market or not, true?
 24              A     That's true, but I would say we infer that in
 25     the private rental market that is part of our defined

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  1     BY MR. BRANCART:
  2              Q     Did you have any role in gathering, compiling
  3     the information that is set forth in these
  4     interrogatory responses which is Exhibit 209?
  5              A     Yes.
  6              Q     State for me what role you had in gathering
  7     information that appears in Exhibit 209.
  8              A     Well, I discussed the various interrogatory
  9     questions and responses as part of a discussion of this
 10     case and helping to provide understanding to the
 11     underwriting guidelines that we have in place with
 12     regard to Apartment Pac, and then also talk to a number
 13     of individuals to understand the history of those
 14     guidelines.
 15              Q     Sir, you verified these interrogatories,
 16     correct?
 17              A     For Exhibit 209 you're saying, yes.
 18              Q     That's your signature that appears there,
 19     correct?
 20              A     Yes.
 21              Q     Sir, would you please identify for me the
 22     niche insurers who serve private landlords renting on
 23     the private housing market but who happen to have one
 24     or more Section 8 tenants?
 25              A     I don't know that I understand that level of

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  1     a niche.       I do know that for subsidized housing
  2     insurance there are markets that specialize in it.                           I
  3     know Philadelphia Insurance has a program, I know Wells
  4     Fargo is a broker, they have a special program for
  5     subsidized housing insurance.                 I have not seen a
  6     special niche of Section 8 only housing defined within
  7     the marketplace as a specialized niche.
  8              Q     Sir, regarding private rental housing that
  9     happens to rent to one or more -- that happens to rent
 10     to one or more -- are you referring to the
 11     interrogatories again, sir, 209?
 12              A     I thought you were, I'm sorry.
 13              Q     Could you please identify for me any insurer
 14     who has developed specialized knowledge regarding
 15     insuring private apartments that happen to rent to one
 16     or more Section 8 tenants?
 17              A     I don't know if there is an insurer that's
 18     got that level of specialization.                   It's not a marked
 19     that we've actively looked to understand since it's
 20     part of our ineligibility guidelines.                     I am aware that
 21     subsidized, for subsidized housing there are special
 22     programs --
 23              Q     Are you referring back to the interrogatories
 24     again, sir?
 25              A     No, I thought you were, so I'm sorry for

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  1     following suit.
  2              Q     No, I'm just asking for your knowledge?
  3                           MR. PETERSON:         So let him finish his
  4     answer.
  5              A     So as you've narrowly asked the question
  6     around private housing market with Section 8 tenants,
  7     I'm not aware of a specialized carrier that is handling
  8     that narrow market.            I am aware that there are
  9     specialized carriers looking at the subsidized housing
 10     market, and I believe that's inclusive of Section 8 as
 11     well.
 12              Q     Why do you form that belief -- let me ask you
 13     this.        That's just an assumption that you're making; is
 14     that correct?
 15              A     Well, no.       As I was engaging in some of this
 16     research I did a Google search on subsidized housing
 17     insurance and saw that there are companies marketing to
 18     this, and I looked on those websites and saw how they
 19     were -- how their applications were set up, and what
 20     kind of information they were asking for.
 21              Q     Sir, let me ask the question again.                    I asked
 22     if you had identified all the documents that you had
 23     reviewed, and perhaps I should have been clearer when I
 24     talk about documents.             I meant the electronically
 25     stored information or e-mails.                 I don't just mean

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  1     to use in ascertaining the existence of the attribute
  2     you identified for determining the distinction between
  3     public and nonpublic housing?
  4              A     There's no tool that we ask our agents to
  5     use.      We ask them to talk to the insured and get the
  6     answer to that question.
  7              Q     What definition do you provide to the
  8     agents -- strike that.
  9                    Do you provide the attribute that you've
 10     identified for distinguishing public from nonpublic
 11     housing to the agents so they can communicate
 12     consistently with the insureds or prospective insureds?
 13              A     We provide our agents with the ineligible
 14     operations list and the underwriting guidelines as the
 15     direction for engaging with the insureds to answer the
 16     questions.
 17              Q     So there's no specific provision -- I think
 18     you identified that it was owned and operated by the
 19     government for public housing, that specific attribute
 20     is not provided to the agents; is that correct?
 21              A     No, it's not.         The only attribute that's
 22     provided or the only words that are provided are the
 23     ineligible operations wording.
 24              Q     What is government funded housing?
 25              A     It's housing that receives funding from the

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  1     BY MR. BRANCART:
  2              Q     Well, for purposes of the application of the
  3     ineligible operation for government funded housing
  4     complexes, does government funding for purposes of
  5     housing construction, is that an attribute that would
  6     convert nongovernmental housing into governmental
  7     funded housing?
  8                           MR. PETERSON:         Objection, overbroad.
  9     Calls for a hypothetical.
 10              A     It could.       We've never been asked to define
 11     the question to that level.
 12     BY MR. BRANCART:
 13              Q     Is a governmental funded or backed mortgage
 14     an attribute that would convert nongovernmental housing
 15     into governmental housing for purposes of the
 16     application of the ineligible operation?
 17                           MR. PETERSON:         Objection, compound.
 18              A     We've never defined the terms to that extent,
 19     so...
 20     BY MR. BRANCART:
 21              Q     Would you please provide me with an example
 22     of government funded housing?
 23              A     I think my example would be similar to the
 24     example I gave around public housing.                     We don't
 25     necessarily define the terms differently between

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  1     subsidized government funded or public housing.                         We
  2     don't discern differences there.
  3              Q     Could you give me an example of government
  4     funded housing as the term is used within the
  5     ineligible operation?
  6                           MR. PETERSON:         Objection, asked and
  7     answered.       Calls for a hypothetical.
  8              A     I don't have the expertise on government
  9     funded or publicly funded or public housing to be able
 10     to give you an example in this realm.
 11     BY MR. PETERSON:
 12              Q     Please identify for me the instrument or tool
 13     that Travelers presently employs to ascertain the
 14     presence of this attribute you identified for
 15     government funded housing which is capitalization and
 16     financing from the government?
 17              A     Travelers doesn't have a tool for that.                     We
 18     ask our agents to get that information.
 19              Q     What tool or instrument does Travelers
 20     instruct its agents to utilize in connection with
 21     ascertaining the attribute you've identified which is
 22     capitalization or funding or financing in part from the
 23     government?
 24                           MR. PETERSON:         May I have that question
 25     read back?

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  1                           (Record read by the court reporter.)
  2              A     There is no specific tool.               We ask our agents
  3     to talk to their insureds and ascertain, ask the
  4     question, provide the answer.
  5     BY MR. BRANCART:
  6              Q     You've identified a specific attribute as
  7     capitalization or financing in part from a governmental
  8     source.      Does Travelers instruct its agents to utilize
  9     that question in determining whether or not a dwelling
 10     falls within the ineligible operation?
 11              A     No, we don't ask that question individually.
 12     We ask our agents to look --
 13              Q     I'm sorry?
 14                           MR. PETERSON:         Can you speak up?
 15              A     We ask our agents to review the ineligible
 16     operations list with the insured.
 17     BY MR. BRANCART:
 18              Q     But there's no specific tool or instrument
 19     that you ask them to utilize, correct?
 20              A     Correct.
 21              Q     The ineligible operation we're discussing is
 22     subsidized, quote, government funded, quote, or public
 23     housing complexes, end quote.                 It's written in the
 24     disjunctive.         Would you please state for me the
 25     attributes or characteristics that distinguish public

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  1     words for our staff or our agents.
  2              Q     What instrument or tool is utilized by
  3     Travelers today in order to distinguish subsidized from
  4     nonsubsidized housing?
  5                           MR. PETERSON:         Objection, asked and
  6     answered.
  7              A     There is no specific tool.               We ask our agents
  8     to work, to use our ineligible operations list in
  9     discussing their operations with their insured.
 10     BY MR. BRANCART:
 11              Q     What specific instrument or tool is utilized
 12     or are agents instructed to use in determining the
 13     distinction between subsidized and nonsubsidized
 14     housing?
 15              A     The agents aren't provided a specific tool.
 16     They're provided with our eligibility guidelines and
 17     our ineligible operations list as the means to work
 18     with their insureds.
 19              Q     When you say eligibility guidelines, what are
 20     you referring to?
 21              A     The underwriting, the guidelines that we --
 22     they're one of the exhibits that we have.
 23              Q     Exhibit, I think, 36 that we looked at.
 24                           MR. PETERSON:         The witness is looking at
 25     Exhibit 237.

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  1              A     I'm talking about the ineligible operations
  2     list and the Apartment -- it's Exhibit 3948, Travelers
  3     Apartment Pac and Apartment Pac Plus guide, shows
  4     eligibility, general product features, underwriting
  5     guidelines.
  6                           MR. PETERSON:         Counsel, my witness is
  7     getting tired, I'm getting tired.                   Can we take a break
  8     shortly?
  9                           MR. BRANCART:         We can.       Let me just
 10     finish this question.
 11     BY MR. BRANCART:
 12              Q     So you were going to identify for me the
 13     eligibility guidelines that are provided, and you can
 14     just reference it by the Bates numbers on the bottom,
 15     if you want.
 16              A     Yes, it's 3948 and 3954.
 17              Q     Sir, what are the attributes that distinguish
 18     the term government funded housing from subsidized
 19     housing as those terms are used in the ineligible
 20     operations definition?
 21                           MR. PETERSON:         Objection, asked and
 22     answered.
 23              A     We don't have any separate attributes that we
 24     provide our agents and internal staff.                     We just use our
 25     underwriting guidelines in the ineligible list.

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  1     BY MR. BRANCART:
  2              Q     Please state for me on behalf of Travelers
  3     what differences are there in these two separate terms
  4     presented in the disjunctive in the ineligible
  5     operation subsidized housing versus government funded
  6     housing?
  7                           MR. PETERSON:         Counsel, you've asked
  8     this question several times, he's answered it several
  9     times.
 10              A     We don't provide any specific further
 11     direction other than the words that are in the
 12     ineligible operations list.
 13                           MR. PETERSON:         Let's take a break.
 14                           MR. BRANCART:         I'm just going to ask
 15     this last question if I could.
 16     BY MR. BRANCART:
 17              Q     I'm not asking you for what you provide, I'm
 18     asking you for what Travelers intends to communicate by
 19     having those two different terms written in the
 20     ineligible operation.
 21                           MR. PETERSON:         Asked and answered.
 22              A     And I thought I had answered it already.                      We
 23     let those words speak for themselves.                     We have not
 24     gotten any questions asking to better clarify either
 25     internally or from our agents, and as a result, we

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  1     haven't clarified them in any greater detail.
  2     BY MR. BRANCART:
  3              Q     Last question is, could you please draw then
  4     the distinction in meaning between public housing and
  5     subsidized housing as those terms are used in the
  6     ineligible operation?
  7                           MR. PETERSON:         Objection, asked and
  8     answered.
  9              A     Again, we don't spend -- we have no direction
 10     internally or externally to our agents defining those
 11     terms in any more detail than how they're listed in the
 12     ineligible operations list.
 13                           MR. PETERSON:         Let's take a break.
 14     We're going off the record.
 15                           (Recess:       5:43 p.m. to 5:55 p.m.)
 16     BY MR. BRANCART:
 17              Q     Sir, was there any distinction or meaning
 18     that Travelers intended to communicate in identifying
 19     public as well as subsidized housing in the ineligible
 20     operation?
 21              A     There was no further clarification of those
 22     words.
 23              Q     Was there any meaning that Travelers intended
 24     to communicate by indicating subsidized along with
 25     government funded and public housing in the ineligible

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  1     BY MR. BRANCART:
  2              Q     More landscaping activities?
  3                           MR. PETERSON:         Same objection.
  4              A     Not that I'm aware of.
  5     BY MR. BRANCART:
  6              Q     More repair activities?
  7                           MR. PETERSON:         Same objection.
  8              A     Not that I'm aware of, although, again, the
  9     question of subsidized tenants does bring the
 10     underwriting question of is there sufficient funding
 11     for upkeep and maintenance of premises.
 12     BY MR. BRANCART:
 13              Q     And the information that's gathered by
 14     Travelers to ascertain whether or not there is
 15     sufficient funding for an apartment to maintain itself
 16     or to have maintenance, what is the instrument that's
 17     used in Travelers Express?
 18              A     There's no specific instrument used.                    It's
 19     inferred in the fact that there is no rental subsidy
 20     for any of the tenants.              It's inferred that the insured
 21     is getting the best market rate they can for the unit,
 22     and as a result, that based on other factors, looking
 23     at age, updates to the building and loss information,
 24     that they are able to maintain the property
 25     effectively.

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  1     Pac, true?
  2                           MR. PETERSON:         Objection, overbroad.
  3              A     We use our ineligibility, ineligible
  4     operations guidelines in that regard.
  5     BY MR. BRANCART:
  6              Q     Perhaps I need to restate my question.
  7     Travelers does not utilize any instrument or collect
  8     data in association with its Travelers Express
  9     automatic underwriting system for Apartment Pac, it
 10     doesn't gather data on any of these when people are
 11     paying their rents, whether or not there is a change in
 12     rental rates, and I believe you made one other -- oh,
 13     the amount of rents paid.               That's just not gathered?
 14              A     No.    Again, it's inferred that in the private
 15     housing market that a well maintained apartment
 16     building will get the highest market rate available,
 17     and we look at things like vacancy and building age and
 18     upkeep and any loss activity as signs of either
 19     corroborating that inference or suggesting that that's
 20     not true in a given case or not.
 21              Q     Sir, does the presence of a Section 8 renter
 22     in a private housing apartment lead to lower rates of
 23     preventative maintenance?
 24                           MR. PETERSON:         Objection, asked and
 25     answered.

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  1     BY MR. BRANCART:
  2              Q     And the question raised is what, sir?
  3                           MR. PETERSON:         Asked and answered.
  4              A     Is there sufficient funding available in
  5     order to maintain housekeeping.
  6     BY MR. BRANCART:
  7              Q     And that is sufficient funding because a
  8     subsidy is involved?
  9              A     Yes.
 10              Q     Sir, does the presence of a Section 8 renter
 11     in a privately owned and operated apartment complex
 12     lead to lower rates of renter's insurance being
 13     obtained by tenants?
 14              A     I don't know.
 15              Q     Does Travelers Express for the Apartment Pac
 16     ask whether or not any of the tenants have renter's
 17     insurance?
 18              A     No, it doesn't.
 19              Q     Sir, is there a separate risk retention group
 20     for private landlords that rent to one or more Section
 21     8 tenants?
 22              A     Not that I'm aware of.
 23              Q     Is there any association with the number of
 24     Section 8 tenants renting in a private apartment
 25     complex and the risk of loss?

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  1     BY MR. BRANCART:
  2              Q     Would you identify for me the person who
  3     developed -- the person or persons who developed,
  4     reviewed, or approved this language of this ineligible
  5     operation?
  6              A     I don't know who was involved in developing
  7     that language.
  8              Q     Sir, I want to direct your attention to
  9     Exhibit 215.         Do you recognize Exhibit 215?
 10              A     Yes.
 11              Q     What is it?
 12              A     Exhibit 215 is the St. Paul Travelers Master
 13     Pac Apartment Pac underwriting criteria and general
 14     criteria and property criteria.                  It's the underwriting
 15     criteria for the various lines of business for
 16     Apartment Pac.
 17              Q     During what period of time was this the
 18     underwriting criteria that governed Apartment Pac?
 19              A     This would have been -- this was the
 20     eligibility that was put in place after the merger and
 21     prior to the completion and implementation of the 2005
 22     CURE.
 23              Q     When you say after the merger, you're
 24     referring to the 2004 St. Paul Travelers merger?
 25              A     Yes.

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  1              Q     I direct your attention, please, to the page
  2     that ends in Bates 22.             This is the ineligible
  3     operation list in connection with those underwriting
  4     standards, correct?
  5              A     Yes.
  6              Q     Sir, it identifies two relevant entries, one
  7     says public housing including Section 8 properties, the
  8     other says subsidized or government funded complexes.
  9     Do you see that?
 10              A     Yes.
 11              Q     Would you please state for me why this
 12     language change occurred from Exhibit 213, which was
 13     the referral rule that we looked at, and what we see
 14     here in Exhibit 215?
 15              A     So, I can't speak to specifically why this
 16     wording was chosen.            I can say that when the two
 17     companies came together in the small commercial space
 18     teams were looking at the guidance from both companies
 19     and bringing those together in a way that would come
 20     together as one set of guidance.
 21                           MR. PETERSON:         Excuse me.        Counsel, I do
 22     want to forewarn you, as we briefly discussed off the
 23     record at our last break, we do intend to end this
 24     deposition after seven hours on the record.
 25                           I understand that you made a statement

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  1     to me that you believe the Federal Rules require that
  2     you be permitted enough time to conduct a fair
  3     examination.
  4                           As I said to you, I think that you will
  5     have examined Travelers pursuant to your 30(b)(6)
  6     notice for 14 hours, including the deposition of Brad
  7     Wood, and I do note that according to my notes it was
  8     about four hours into the deposition today before you
  9     asked the witness a question about subsidized housing.
 10                           So I understand you preserve your
 11     rights, but I do want to forewarn you that we are
 12     adjourning the deposition after seven hours.                        So I
 13     think we're getting close.
 14     BY MR. BRANCART:
 15              Q     Sir, would you please identify for me who, or
 16     which group of persons determined the language that
 17     appears on page 22 of Exhibit 215?
 18              A     I don't know who put those words together.
 19              Q     Please identify who reviewed and approved the
 20     inclusion of this language?
 21              A     I don't know who reviewed or approved the
 22     language.
 23              Q     Sir, please state for me why it is that the
 24     language, quote, Including Section 8 properties, is
 25     included here in conjunction with public housing?

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  1              A     I don't know.         I don't know why that specific
  2     wording exists.
  3              Q     Sir, I would like to direct your attention
  4     now to Exhibit 216.            Please identify this exhibit for
  5     us.
  6              A     These are underwriting guidelines for the
  7     apartment segment for St. Paul Travelers.                       I was
  8     hesitating -- I was looking for a date.                      It dates to
  9     2005.
 10              Q     Would you please state for me during what
 11     time period these underwriting guidelines, including
 12     their statement of the ineligible operations, were in
 13     force at Travelers, then as Travelers St. Paul?
 14              A     So these were in force from 2005 until the
 15     time we changed the wording as a result of the 2005
 16     Habitational CURE, Apartment CURE.
 17              Q     This wording that appears here on the page
 18     Bates ending in 94 appears to be identical to that that
 19     appears in the prior Exhibit 215.                   Am I seeing that
 20     correctly?
 21              A     Yes.
 22              Q     Sir, I would like to direct your attention to
 23     Exhibit 217.         Would you please identify this document
 24     for us?
 25              A     It looks like it's an internal document that

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  1     notes recommended changes to the Master Pac and Pac
  2     plus agents manual and the internal manual outlining
  3     changes to portions of the Apartment Pac section of the
  4     manual.
  5              Q     Do you understand this to be a document that
  6     was created in the course of the 2005 CURE process?
  7              A     That's my understanding.
  8              Q     I direct your attention to the third bullet,
  9     quote, Remove public housing including Section 8
 10     properties on the ineligible list.                   Do you see that?
 11              A     Yes.
 12              Q     Who is it that made that recommendation?
 13              A     I don't know.
 14              Q     Who approved that recommendation?
 15              A     I don't know.
 16              Q     I direct your attention to the next bullet,
 17     quote, Revise subsidized or government funded complexes
 18     to read subsidized public or government funded
 19     complexes on the ineligible list.
 20                    Who determined that that language,
 21     recommended that that language change should be made?
 22              A     I don't know.         It came out of the CURE, but I
 23     don't know who specifically came up with that wording.
 24              Q     Who approved that language change?
 25              A     I don't know.

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  1                                          JURAT
  2

  3                    I, BRIAN KEARNEY, do hereby certify that the
  4     foregoing testimony taken on September 19, 2014, is
  5     true and accurate, including any corrections noted on
  6     the corrections page, to the best of my knowledge and
  7     belief.
  8

  9
                                             ____________________________
 10                                                  BRIAN KEARNEY
 11

 12

 13

 14

 15              At ___________ in said county of ____________,
 16     this ________day of _________, 2014, personally
 17     appeared BRIAN KEARNEY, and he made oath to the truth
 18     of the foregoing corrections by him subscribed.
 19

 20

 21     Before me,________________________, Notary Public
 22     My commission expires:
 23

 24

 25

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  1                           CERTIFICATE OF REPORTER
  2              I, Robin Balletto, a Registered Professional
  3     Reporter/Notary Public within and for the State of
  4     Connecticut, do hereby certify there came before me, on
  5     the 19th day of September, 2014, the following named
  6     person, to wit:          BRIAN KEARNEY, who was by me duly
  7     sworn to testify to the truth and nothing but the
  8     truth; that he was thereupon carefully examined upon
  9     his oath and his examination reduced to writing under
 10     my supervision; that this deposition is a true record
 11     of the testimony given by the witness.
 12                    I further certify that I am neither counsel
 13     for, related to, nor employed by any of the parties to
 14     the action in which this deposition is taken; and
 15     further, that I am not a relative or employee of any
 16     attorney or counsel employed by the parties hereto, nor
 17     financially or otherwise interested in the outcome of
 18     the action.
 19              WITNESS my hand and affixed my seal this 23rd day
 20     of September, 2014.
 21

 22                                     _________________________________
                                               Robin Balletto, RPR
 23

 24
        My commission expires:             October 31, 2018
 25

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                           UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                 SAN JOSE DIVISION


            LINCOLN JONES, JR. and
            MUYESSER NILE JONES,
            individually and as trustees
            of the Lincoln and M. Nile
            Jones Revocable Trust; and
            PROJECT SENTINEL, INC.,

                          Plaintiffs,

            vs.                                Case No.
                                               CV 13-02390 LHK PSG
            TRAVELERS CASUALTY INSURANCE
            COMPANY OF AMERICA,

                          Defendant.

                                              /


               VIDEOTAPED 30(B)(6) DEPOSITION OF BRIAN KEARNEY

                                      VOLUME II

                                  PAGES 263 to 420


            DATE:               Tuesday, November 4, 2014

            TIME:               1:12 p.m. - 4:43 p.m.

            LOCATION:           Carlson Calladine & Peterson, LLP
                                353 Sacramento Street, 16th Floor
                                San Francisco, California


            REPORTED BY:        SHELLEY M. SAILOR
                                California CSR No. 10254

                                MBreporting
                                111 Deerwood Road, Suite 200
                                San Ramon, CA 94583
                                (925) 989-6080
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                      1   reporter please administer the oath.

                      2                         BRIAN KEARNEY,

                      3   called as a witness and, having been by me duly

                      4   sworn, was thereupon examined and testified as

                      5   hereinafter set forth.

                      6             EXAMINATION (RESUMED) BY MR. BRANCART

                      7        Q.    Good afternoon, sir.    Would you please

                      8   state your full name and spell your last name.

                      9        A.    Brian Kearney, K-e-a-r-n-e-y.

 01:14               10        Q.   Please state your current business address.

                     11        A.    Is One Tower Square, Hartford, Connecticut.

                     12        Q.    And ZIP code, please.    If you know it.

                     13        A.    That, I'm afraid I don't recall.

                     14        Q.    That's no problem.   State your current

 01:14               15   business telephone.

                     16        A.    Is 860-954-7522.

                     17        Q.    State your current business email.

                     18        A.    Is btkearne@travelers.com.

                     19        Q.    Since your last deposition on

 01:14               20   September 19th, 2014, have your job duties changed?

                     21        A.    No, they haven't.

                     22        Q.    Since your last deposition on

                     23   September 19th, 2014, have the persons for the job

                     24   titles that report to you changed?

 01:14               25        A.   I do have one new employee.

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                      1           A.   No, it is not.

                      2           Q.   Sir, would you please go ahead and direct

                      3   your attention to the far right-hand corner of the

                      4   first page of Exhibit 306.       One of the columns

 01:44                5   reads, "Companion Rules BRID."      Do you see that?

                      6           A.   Yes.

                      7           Q.   What information is recorded in that

                      8   column?

                      9           A.   Nothing on this exhibit.

 01:44               10        Q.      If there were data populating that column,

                     11   what would it represent?

                     12                MR. FRANKEL:   Object to form.

                     13                THE WITNESS:   It's a -- this is a way for

                     14   us to aggregate rules that may apply in same or

 01:45               15   similar situations.      It's a way for us to manage our

                     16   rules.

                     17   BY MR. BRANCART:

                     18           Q.   Okay.   Sir, immediately to the right of

                     19   that there is a column that says, "CW."       Do you see

 01:45               20   that?

                     21           A.   Yes.

                     22           Q.   What does CW stand for?

                     23           A.   Countrywide.

                     24           Q.   To the right of that is AL, and it proceeds

 01:45               25   on to the end of page AI.      These are initials for

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                      1   states.   Correct?

                      2        A.   Yes.

                      3        Q.   Proceed to the next page.     We have initials

                      4   for the balance of the states that comprise the

 01:45                5   Continental United States.   Correct?

                      6        A.   Yes.

                      7        Q.   And I should say also Hawaii and Alaska.

                      8   So it's not just the Continental United States.

                      9   They comprise the United States.    Correct?

 01:45               10        A.   Yes.

                     11        Q.   What information is to be recorded there?

                     12        A.   Some of our rules can apply for a specific

                     13   state, geographic regions, and so that's a way for

                     14   us to track how those rules are applying.

 01:46               15        Q.   If, for example, a state outlawed

                     16   explicitly discrimination against assisted living

                     17   facilities, one of the ineligible operations, that

                     18   rule would be populated here.    Is that correct?

                     19             MR. FRANKEL:   Object to form.   Foundation.

 01:46               20             THE WITNESS:   We would have to populate a

                     21   field for a specific state in the event that the

                     22   state had a specific requirement.     The way you

                     23   stated your question, we would actually have to

                     24   split out assisted living as a separate rule and

 01:46               25   then apply it to that state.

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                      1   BY MR. BRANCART:

                      2        Q.    And it would be documented here in the

                      3   rules inventory adjacent to the state code with some

                      4   kind of indicator.    Correct?

 01:46                5              MR. FRANKEL:   Object to form.   Foundation.

                      6              THE WITNESS:   Yes.   If that were the case.

                      7   BY MR. BRANCART:

                      8        Q.    There are no individualized state

                      9   indicators listed in this rule set.     Correct?

 01:47               10        A.    Correct.

                     11        Q.    As far as you know, there were no

                     12   separately programmed criteria on an individual

                     13   state basis during the period of time that

                     14   Exhibit 306 reflected the rules inventory for IENet,

 01:47               15   also referred to as Travelers Express.      True?

                     16        A.    Yes.

                     17              MR. FRANKEL:   Object to form.

                     18   BY MR. BRANCART:

                     19        Q.    Direct your attention to Exhibit 307.      The

 01:47               20   testimony you provided for Exhibit 306 is

                     21   substantially similar to what you provide here in

                     22   terms of identifying these columns.     Is that

                     23   correct?

                     24              MR. FRANKEL:   Object to form.

 01:47               25              THE WITNESS:   Yes.

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                      1   BY MR. BRANCART:

                      2        Q.    Is there anything that is unique -- strike

                      3   that.

                      4              Is there anything that you testified about

 01:47                5   Exhibit 306 in terms of column identification that

                      6   does not apply here to Exhibit 307?

                      7              MR. FRANKEL:   Object to form.   Vague and

                      8   ambiguous, compound.

                      9              THE WITNESS:   No.   I don't believe so.

 01:48               10   BY MR. BRANCART:

                     11        Q.    This, then, would be the rule set for the

                     12   effective period in California from October 2013 to

                     13   present.    Correct?

                     14        A.    Yes.

 01:48               15        Q.    It has at the top of the page "Rule

                     16   Effective Date."    Do you see that?

                     17        A.    Yes.

                     18        Q.    It says, "July 9th, 2011."    Do you see

                     19   that?

 01:48               20        A.    Yes.

                     21        Q.    What does that date indicate?

                     22        A.    That was the date the rule first became

                     23   effective in the second gen Travelers Express

                     24   system.

 01:48               25        Q.    And do you know a list of states as to how

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                      1   it rolled out?

                      2        A.   I don't have that with me.

                      3        Q.   Sir, would you please go ahead and direct

                      4   your attention to the Bates 157138 of Exhibit 307.

 01:49                5   And specifically directing your attention to the

                      6   column that is CW for countrywide.       Correct?

                      7        A.   Yes.

                      8        Q.   You see that?

                      9        A.   I am there.   Yeah.

 01:49               10        Q.   There is an X indicated there.     Do you see

                     11   that?

                     12        A.   Yes.

                     13        Q.   What does that X mean?

                     14        A.   That means that this rule applies on a

 01:49               15   countrywide basis.

                     16        Q.   And the very same X appears in the prior

                     17   exhibit, Exhibit 306.     Is that correct?

                     18        A.   Yes.

                     19        Q.   To the top, the CW, we have the state codes

 01:50               20   AL up to KY for Kentucky.    Correct?

                     21        A.   Yes.

                     22        Q.   On the next page we have WY for Wyoming

                     23   down to LA for Louisiana.     Correct?

                     24        A.   Yes.

 01:50               25        Q.   What is the purpose of having the separate

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                      1   state categories?

                      2             MR. FRANKEL:    Object to form, foundation.

                      3             THE WITNESS:    Some of our rules could apply

                      4   at just a state level, and so that's why this table

 01:50                5   is built, to show that.

                      6   BY MR. BRANCART:

                      7        Q.   There are -- there is no data recorded

                      8   adjacent to any of the states that are identified

                      9   here on the Bates pages 138 and 139.      True?

 01:50               10        A.   Correct.

                     11        Q.   There were no separate rules recorded for

                     12   any of the states in terms of the second gen rules

                     13   inventory that governed the operation of second gen.

                     14   True?

 01:51               15             MR. FRANKEL:    Object to form, foundation.

                     16             THE WITNESS:    For this particular rule, the

                     17   Apartment Pac --

                     18             MR. BRANCART:     Right.

                     19             THE WITNESS:    -- segment eligibility.

 01:51               20   BY MR. BRANCART:

                     21        Q.   Yes.   Exactly.    That's for what we're

                     22   looking at here.

                     23        A.   Yes.

                     24        Q.   If there were specific state-based rules

 01:51               25   that applied to this particular rule inventory for

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                      1   apartment -- Apartment Pac second gen Travelers

                      2   Express, what would be indicated here adjacent to

                      3   one of the state codes on 138 and 139?

                      4               MR. FRANKEL:   Object to form.

 01:51                5              THE WITNESS:    There would be an X placed

                      6   next to the state.

                      7   BY MR. BRANCART:

                      8        Q.     Sir, would you please give me an example --

                      9   strike that.

 01:51               10              Exhibit 306 and 307 are the rules inventory

                     11   for the ineligible operation associated with the

                     12   Travelers Express Apartment Pac system.      True?

                     13        A.     Yes.

                     14        Q.     And that's all that's represented here.

 01:52               15   Correct?

                     16        A.     Yes.

                     17        Q.     Give me an example of a situation where

                     18   there is a state unique rule that would affect the

                     19   rules inventory in the Travelers Express system.

 01:52               20        A.    We could have a rule and do have rules in

                     21   some of our coastal eastern states where we require

                     22   a certain wind deductible based on the location of

                     23   the property.      So that would be an example where

                     24   there would be a state-specific rule for property

 01:52               25   coverage.

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                      1           Q.   Okay.     Exhibit 307 sets forth the rules

                      2   inventory that have been in place from the effective

                      3   date as indicated on the first page, July 9th, 2011

                      4   to present.         Correct?

 01:53                5        A.      Yes.    This is when it first went in place

                      6   in the system.         In that system.

                      7           Q.   During that period of time, July 9th, 2011

                      8   to today, there have been no separate rules

                      9   identified on a state-by-state basis for Travelers

 01:53               10   Express for the date reported here -- I should say

                     11   the function reported here, the ineligible

                     12   operation.      Is that correct?

                     13                MR. FRANKEL:      Objection.   Foundation,

                     14   beyond the scope.

 01:53               15                THE WITNESS:      That's correct with regard to

                     16   this rule.

                     17   BY MR. BRANCART:

                     18           Q.   And regarding the prior document,

                     19   Exhibit -- what was the prior document?           Was it 306?

 01:53               20   Yeah.    Exhibit 306, there is no X populated next to

                     21   any of the states.         Correct?

                     22           A.   Correct.

                     23           Q.   And there were no specific state-based

                     24   rules that governed the operation of Travelers

 01:54               25   Express during the period of time it was the

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                      1   so-called first gen or from its effective date

                      2   July 1st, 2006 till it was superseded by second gen

                      3   as reflected in Exhibit 307.     Is that correct?

                      4              MR. FRANKEL:   Object to form.

 01:54                5             THE WITNESS:    Yes, with regard to the

                      6   ineligible operations.

                      7   BY MR. BRANCART:

                      8        Q.    All right.    So I just want to be clear.      So

                      9   regarding the ineligible operations, there has never

 01:54               10   been programmed into the rule set that governs the

                     11   operation of Travelers Express any unique state

                     12   rules.    Is that correct?

                     13        A.    With regard to the ineligible operations,

                     14   that's correct.

 01:54               15        Q.   And that's true for the first gen and

                     16   second gen.    Correct?

                     17        A.    Yes.

                     18              (Exhibit 308 was marked for

                     19   identification.)

 01:55               20   BY MR. BRANCART:

                     21        Q.    Okay.   Show you Exhibit 308.    Do you

                     22   recognize this document?

                     23        A.    I do.

                     24        Q.    What is it?

 01:55               25        A.   It's a training document for our business

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                      1               ::: DECLARATION OF WITNESS :::

                      2            I hereby declare I am the deponent in the
                          within matter; that I have read the foregoing
                      3   deposition and know the contents thereof, and I
                          declare that the same is true of my knowledge except
                      4   as to the matters which are therein stated upon my
                          information or belief, and as to those matters, I
                      5   believe it to be true.
                                   I declare under the penalties of perjury of
                      6   the State of California that the foregoing is true
                          and correct.
                      7
                                   Executed this ______ day of
                      8   _________________, 201__, at
                          _________________________________, _______.
                      9            (City)                    (State)

                     10
                                  _____________________________
                     11           BRIAN KEARNEY

                     12

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                      1              ::: CERTIFICATE OF REPORTER :::

                      2

                      3            I, SHELLEY M. SAILOR, a Certified Shorthand
                          Reporter, holding a valid and current license issued
                      4   by the State of California, CSR No. 10254, duly
                          authorized to administer oaths, do hereby certify:
                      5            That the witness in the foregoing
                          deposition was by me duly sworn to testify the truth
                      6   in the within-entitled cause; that said deposition
                          was taken at the time and place therein cited; that
                      7   testimony of said witness was reported by me and
                          thereafter transcribed under my direction into
                      8   typewriting; that the foregoing is a complete and
                          accurate record of said testimony; and that the
                      9   witness was given an opportunity to read and correct
                          said deposition and to subscribe the same.
                     10            Should the signature of the witness not be
                          affixed to the deposition, the witness shall not
                     11   have availed himself of the opportunity to sign or
                          the signature has been waived.
                     12            I further certify that I am not of counsel
                          nor attorney for any of the parties in the foregoing
                     13   deposition and caption named nor in any way
                          interested in the outcome of the cause named in said
                     14   caption.

                     15            Reading and Signing was NOT REQUESTED.

                     16

                     17            DATED:   November 18, 2014

                     18

                     19

                     20

                     21
                                  SHELLEY M. SAILOR
                     22           California CSR No. 10254

                     23

                     24

                     25

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